            Case 8:13-cr-00544-PWG Document 94 Filed 03/24/20 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA      *
                               *
      v.                       *    CRIMINAL NO. PWG-13-544
                               *
 JULIUS VALENTINE WILLIAMS,    *
                               *
           Defendant           *
                               *
                               *
                            *******
                      MEMORANDUM OPINION

       The Court has received Defendant’s Emergency Motion for Reconsideration of Bond (the

“Emergency Motion”), ECF No. 92. The Court has reviewed the Emergency Motion and the

Opposition thereto, ECF No. 93. No hearing is deemed necessary. Local Rules 105.6 and 207

(D. Md.) The Court hereby DENIES the Emergency Motion.

       I.       Relevant Procedural History

       As set forth in the submissions of the parties, the release history of Defendant is well

documented. On October 7, 2013, Mr. Williams appeared before the Court on charges of filing

false tax returns. He was released on conditions. ECF No. 8. Seven months later, the Court felt

compelled to order Defendant’s detention in light of evidence that Mr. Williams was continuing

to engage in the same unlawful misconduct. After subsequently being found guilty of tax fraud

and identity theft, and serving years of incarceration, Mr. Williams was again offered the

opportunity to be free in the community under explicit terms of supervised release. Nonetheless,

within seven months of his release, his supervising officials were seeking his detention. This

time, it was alleged that Mr. Williams was not reporting as required, not paying restitution as
         Case 8:13-cr-00544-PWG Document 94 Filed 03/24/20 Page 2 of 6



ordered, refusing to provide required documents as directed, and was again preparing and

submitting false tax documents. At the initial appearance held on May 2, 2019, the Court

released Mr. Williams on conditions.

       By November 2019, another petition was filed, alleging that Mr. Williams had been

arrested and charged by the State of Georgia with filing fraudulent tax statements. The parties

and the Court agreed to delay addressing these concerns, yet before a hearing could held, another

petition was filed noting that Mr. Williams had been out of contact for months with both his

federal and State of Georgia supervising officers. On February 7, 2020, this Court issued a

warrant for Mr. Williams’ arrest.

       A hearing was held on February 11, 2020, wherein the Court was persuaded that Mr.

Williams’ history of misconduct on release was repeating itself. Mr. Williams’ post-conviction

conduct was mirroring his pre-conviction conduct years earlier. The Government proffered

evidence to believe that Mr. Williams was resuming his involvement in criminal activity and was

refusing to allow meaningful supervision while in the community. Moreover, as a person under

supervision, Mr. Williams was not able to demonstrate by “clear and convincing evidence” that

he would appear for court as told, follow the lawful instructions of the Court or of his

supervising officer, or to otherwise obey the law. Order of Detention, February 11, 2020, ECF

No. 85; Fed. R. Crim. P. 32.1(a)(6). It is within this context, that Defendant’s Emergency

Motion is written.

       II.     The COVID-19 Pandemic

       It is understandable for any person presently incarcerated during the pendency of the

global COVID-19 pandemic to want an immediate release. Ordinarily, the Court does not




                                                 2
         Case 8:13-cr-00544-PWG Document 94 Filed 03/24/20 Page 3 of 6



“recalculate” a decision to release or to detain a defendant in the absence of new information that

was not available at the time of the original determination. Under the Bail Reform Act the Court

is required to consider a host of factors which might inform the question of detention, including

changed circumstances.

               The hearing may be reopened, before or after a determination by
               the judicial officer, at any time before trial if the judicial officer
               finds that information exists that was not known to the movant at
               the time of the hearing and that has a material bearing on the issue
               whether there are conditions of release that will reasonably assure
               the appearance of such person as required and the safety of any
               other person and the community.

18 U.S.C. Section 3142(f). While the deadly virus may have been in development, the national

and international impact of COVID-19 was not on the radar of the parties or the Court at the time

of the detention hearing held on February 11. The impact of this virus has been universal,

affecting nearly all aspects of life in the District of Maryland. Its existence is unquestionably

“material.”

       The present knowledge of COVID-19 is amply documented by the voluminous

references set forth in the Emergency Motion. Virtually every sector of public life has been

affected, with both private and governmental operations being scaled back to a minimum or

shuttered altogether. Experts tell us that the rate of infections has yet to peak in the United

States, so conditions are expected to worsen. The Court accepts that as a 67-year-old person, Mr.

Williams is a member of a group considered more vulnerable to contracting this deadly virus

than others.

       The Court is mindful that it bears a fiduciary responsibility to that those that are detained

in jails and prisons. The incarcerated look to the Courts for protection of their health, welfare




                                                  3
         Case 8:13-cr-00544-PWG Document 94 Filed 03/24/20 Page 4 of 6



and personal rights in general. However, the Courts are not on the front line. That space is

rightly occupied by corrections officials and their administration. On this record, there is no

suggestion of mistreatment, dereliction of duty, mismanagement, or other concern. To the

contrary, the Government’s Opposition speaks with specificity about the absence of an effect of

the virus on Mr. Williams, whereas the Emergency Motion merely raises general concerns that

are true for every older person who is incarcerated.

       Defendant rightfully reminds the Court that those in detention facilities “have poorer

health than the general population, and even at the best of times, medical care is limited in these

facilities. Many people who are incarcerated also have chronic conditions, like diabetes or HIV,

which makes them vulnerable to severe forms of COVID 19.” Emergency Motion 4-5. The

defense goes on to note that these people are “at special risk given their living situation.” Id. at

5. These are challenges that cannot be denied, but as they relate to the issue of release, they are

concerns not concrete enough to justify the release of Mr. Williams.

       It is the Government that provides the specific details here. While the situation may

change, as of March 20, 2020 “there are no cases of COVID-19” at Mr. Williams’ detention

facility. Gov’t Opp’n 6. The Government correctly notes that the defense makes no suggestion

that Mr. Williams has the virus, or that he has been exposed to the virus. Id. Mr. Williams is

merely casting possibilities in light of his understandable apprehension. Aside from being an

older person, Mr. Williams has expressed no other physical vulnerabilities. As the Government

writes, detained persons with more compromised physical health have made similar arguments to

no avail. See United States v. Martin, PWG 19-140, March 17, 2020 (D. Md.)(J. Grimm), ECF

No. 209; United States v. Bilbrough, TDC 20-33, March 20, 2020 (D. Md.)(J. Sullivan), ECF




                                                  4
         Case 8:13-cr-00544-PWG Document 94 Filed 03/24/20 Page 5 of 6



No. 76. The Court has also considered the reasoning in United States v. Jones, CCB 17-582,

March 20, 2020, (D. Md.)(J. Coulson), ECF No. 136, wherein the defendant was pregnant, on

prescribed medications, and seeking release due to COVID-19. The Court has reflected on all of

the considerations and factors in play at the detention hearing held on February 11. Even with

the pandemic that has befallen us, it does not change the calculus of detention here.

       The Government has articulated in great detail the measures implemented by the facility

where Defendant is housed. Gov’t Opp’n 7-8. These measures are extensive and, up to the

present moment, adequate as it appears the facility has a lower incidence of infection than the

general population. Should the unfortunate event occur, the correctional authorities have in

place a plan of action that should not be summarily embraced or discarded. Nor does it follow

that a presumption of release materializes without more details about the impact upon Mr.

Williams directly. Information regarding prisoner movements, his proximity to those infected,

and other measures taken in response (or not) will be important factors to consider. As has been

mentioned by this Court on several occasions, the Bail Reform Act requires an “individualized

determination” about the appropriateness of release for each defendant.

       In summary, Defendant has still failed to demonstrate by clear and convincing evidence

that release is appropriate. The existence of the present pandemic, without more, is not

tantamount to a “get out of jail free” card. Not even for the older person being detained. While

there has been a change in conditions as a result of the pandemic, there has not been enough

change to justify the release of Mr. Williams.




                                                 5
         Case 8:13-cr-00544-PWG Document 94 Filed 03/24/20 Page 6 of 6




       III.    Conclusion

       The Court is not persuaded that Defendant has demonstrated by clear and convincing

evidence that he should be released from detention. The combination of his age and the

existence of COVID-19, standing alone, are not sufficient for the reasons stated above.

Accordingly, Defendant’s Emergency Motion is DENIED.

       So Ordered this 23rd day of March, 2020.



                                                                    /s/
                                                    Charles B. Day
                                                    United States Magistrate Judge




                                                6
